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                                                     December 1, 2017

The Hon. Debra C. Freeman
United State Magistrate Judge
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

                              Re: Callender v. Panabori Food Corp., d/b/a Tiny Pizza and
                                  Pasta et al Case No. Case No. 16-cv-07152
                                  (PKC)(DCF)

Your Honor:

        I represent Plaintiff, Simon Callender, in the above referenced matter. This is a
failure to pay wages, overtime and related claims in violation of the Fair Labor Standards
Act and the New York Labor Law.

       The Court currently has a damages inquest based on written submissions pending.
(Doc. No. 26). I write to inquire if the Court requires any additional information to aid it
with making this decision. If so, kindly contact the undersigned, so that I may provide
any further assistance as required by the Court. Thank you for your consideration.
Please direct any questions to the undersigned.

                                                     Very truly yours,


                                                           /s/
                                                     Delmas A. Costin, Jr.

CC:        Simon Callender




Court-06
